                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION


UNITED STATES OF AMERICA                  )                  DOCKET NO. 1:06cr13
                                          )
                                          )
      v.                                  )
                                          )
1) SHAFEEQ AMEER MALIK MUHAMMAD )
      A/K/A “Sam Wright”                  )
2) CHADMIKO JAVON STALEY                  )
      A/K/A “Chad”                        )
3) MICHAEL DWAYNE STALEY                  )
      A/K/A “Diesel”                      )
                                          )
__________________________________________)


               ORDER DISMISSING FORFEITURE OF REAL PROPERTY

       THIS MATTER is before the Court on the Government’s motion to dismiss the

forfeiture of real property described as 192 Wilkins Street, Forest City, North Carolina.

       Pursuant to the Settlement Agreement between the United States and Petitioner Uffer

Mae Staley filed November 14, 2007, and for the reasons stated in the Government’s motion to

dismiss,

       IT IS, THEREFORE, ORDERED that the Government’s motion to dismiss is

ALLOWED, and the Court hereby DISMISSES WITH PREJUDICE the Notice of Forfeiture

in the Indictment and the forfeiture of the real property

       with an Address of 192 Wilkins Street, Forest City, North Carolina, as More
       Particularly Described in a North Carolina General Warranty Deed at Book 583,
       Page 431, in the Land Records of Rutherford County, North Carolina,

subject only to the terms of the Settlement Agreement filed herein.




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                                Signed: November 19, 2007




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